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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    RACHELLE BARBOUR, #185395
     Attorney
3    Designated Counsel for Service
     OFFICE OF THE FEDERAL DEFENDER
4    801 “I” Street, 3rd Floor
     Sacramento, CA 95814
5
     Attorney for Defendant
6    ERIC JOHN COP

7
8                             IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                        )   No. Cr. S. 14-055-GEB _________
                                                      )
12                         Plaintiff,                 )   STIPULATION AND ORDER
                                                      )   TO AMEND PRETRIAL SERVICES
13   v.                                               )   CONDITIONS
                                                      )
14   ERIC JOHN COP,                                   )
                                                      )   JUDGE: Hon. Dale A. Drozd
15                         Defendant.                 )
                                                      )
16                                                    )

17           Plaintiff, United States of America, through Assistant United States Attorney MICHAEL

18   MCCOY, and Defendant ERIC JOHN COP, through his attorney RACHELLE BARBOUR, of

19   the Office of the Federal Defender, hereby stipulate and request that the Court amend Mr. Eric

20   Cop’s pretrial services conditions as follows:

21           That a condition be added stating:

22   You shall participate in a program of medical or psychiatric treatment, including treatment for
     drug or alcohol dependency, as approved by the pretrial services officer. You shall pay all or part
23   of the costs of the counseling services based upon your ability to pay, as determined by the
     pretrial services officer.
24
25   //
     //
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1             That condition #8 be amended to state:
2    You shall refrain from the ANY use of alcohol or any use of a narcotic drug or other
     controlled substance without a prescription by a licensed medical practitioner; and you
3    shall notify Pretrial Services immediately of any prescribed medication(s). However,
4    medicinal marijuana, prescribed or not, may not be used.

5             Pretrial Services has requested that the parties file this stipulation and proposed order

6    amending the conditions.

7    Dated: November 18, 2014                                Respectfully submitted,

8                                                            HEATHER E. WILLIAMS
                                                             Federal Public Defender
9
                                                             /s/ R. Barbour
10                                                           RACHELLE BARBOUR
                                                             Attorney for Defendant
11                                                           ERIC JOHN COP

12
     Dated: November 18, 2014                                BENJAMIN WAGNER
13                                                           United States Attorney

14                                                           /s/ Michael McCoy
                                                             MICHAEL MCCOY
15                                                           Assistant United States Attorney
                                                             Attorney for Plaintiff
16
                                                    ORDER
17
              The Court orders that pretrial release condition #8 for Eric Cop be amended to state:
18
     You shall refrain from the ANY use of alcohol or any use of a narcotic drug or other
19   controlled substance without a prescription by a licensed medical practitioner; and you
     shall notify Pretrial Services immediately of any prescribed medication(s). However,
20   medicinal marijuana, prescribed or not, may not be used.
21            The Court also adds the following condition to Eric Cop’s pretrial release:
22
     You shall participate in a program of medical or psychiatric treatment, including treatment for
23   drug or alcohol dependency, as approved by the pretrial services officer. You shall pay all or part
     of the costs of the counseling services based upon your ability to pay, as determined by the
24   pretrial services officer.
25            IT IS SO ORDERED.
26   Dated: November 19, 2014
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     Dad1.crim
28   Cop0055.stipo.modify.cor.doc

     !Unexpected     End Cop,
      United States v.Eric of FormulaUnited            -2-
      Stipulation and Order re: PTS Conditions
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     !Unexpected     End Cop,
      United States v.Eric of FormulaUnited      -3-
      Stipulation and Order re: PTS Conditions
